                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                                     3:11-cr-75

UNITED STATES OF AMERICA                 )
                                         )
                  vs.                    )
                                         )                                   ORDER
                                         )
XIOMARA AMPARO (2)                       )
________________________________________ )


       THIS MATTER is before the Court on its own motion, the government’s Motion for

Reconsideration, (Doc. No. 174), and the defendant’s Response, (Doc. No. 175).

       The government argues because a co-defendant has absconded from supervision prior to

reporting to the Bureau of Prisons (BOP), that the defendant is also a risk to flee without serving

her sentence. While the Court base its decision on that circumstance, other information shows

that the need for the defendant to travel no longer exists. On May 23, 2012, the Court granted,

(Doc. No. 173: Order), the defendant permission to travel to the Dominican Republic for up to 10

days to attend the funeral of her father, who passed away on May 21, 2012 (Doc. No. 170: Motion

at Exhibit 1). The defendant had to obtain a duplicate passport and as of the date of this Order,

has not left the country. According to the United States Probation Office (USPO), her father has

since been interred. Therefore, the need to travel no longer exists.

       IT IS, THEREFORE, ORDERED that the government’s Motion for Reconsideration,

(Doc. No. 174), is GRANTED and the permission to travel to the Dominican Republic is

REVOKED. The defendant shall immediately surrender her passport to the USPO and abide by

all previously ordered bond conditions, (Doc. No. 33: Order Setting Conditions of Release).




       Case 3:11-cr-00075-RJC          Document 177        Filed 06/01/12      Page 1 of 2
       The Clerk is directed to certify copies of this order to the defendant, counsel for the

defendant, to the United States Attorney, the United States Marshals Service, and the United

States Probation Office.

                                                  Signed: June 1, 2012




                                                 2


       Case 3:11-cr-00075-RJC          Document 177        Filed 06/01/12       Page 2 of 2
